                    Case 3:25-cr-00102-SCC              Document 1         Filed 02/16/25          Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                    DistrictDistrict
                                               __________    of Puerto  Rico
                                                                     of __________

                  United States of America                       )
                             v.                                  )
                                                                 )
              Gustavo Alberto Lora-Peguero                       )       Case No. 25-
                                                                 )
                                                                 )
                                                                 )
                          Defendant(s)


                                              CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               February 16, 2025              in the county of                              in the
                       District of        Puerto Rico        , the defendant(s) violated:

            Code Section                                                   Offense Description
18 U.S.C. § 111(a)                           Assaulting, Resisting, and Impeding a Federal Officer through Physical
                                             Contact

8 U.S.C. § 1325                              Improper Entry by an Alien




         This criminal complaint is based on these facts:
See attached affidavit.
The United States requests that defendant be detained and moves for a three-day continuance under
18 U.S.C. § 3142(f).
Approved by AUSA Jeanette M. Collazo-Ortiz


         ✔ Continued on the attached sheet.
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                                                                                            Complainant’s
                                                                                             omplainant’s signatu
                                                                                                          signature

                                                                                   Shaun Borland, Special Agent FBI
                                                                                             Printed name and title

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Date:             02/16/2025
                                                                                               Judge’s signature

City and state:                    San Juan, Puerto Rico                        U.S. Magistrate Judge Marcos E. López
                                                                                             Printed name and title
